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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

                                                    )
    In re:                                          )     Chapter 11
                                                    )
    OFF LEASE ONLY LLC,1                            )     Case No. 23- 11388 (CTG)
                                                    )
                     Debtors.                       )     (Joint Administration Requested)
                                                    )
                                                    )


                             OBJECTION OF ALLY
                  FINANCIAL INC. AND ALLY BANK TO MOTION
                 OF THE DEBTORS FOR ENTRY OF INTERIM AND
               FINAL ORDERS (I) AUTHORIZING THE USE OF CASH
             COLLATERAL, (II) GRANTING ADEQUATE PROTECTION
             TO PREPETITION SECURED PARTIES, (III) SCHEDULING
          A FINAL HEARING, AND (IV) GRANTING RELATED RELIEF AND
     RESERVATION OF RIGHTS WITH RESPECT TO OTHER FIRST DAY MOTIONS

             Ally Financial Inc. and Ally Bank (together, the “Ally Parties”) as secured lenders under

    the floorplan financing arrangements described below with Off Lease Only LLC (“Off Lease

    LLC”) as borrower and Off Lease Only Parent LLC as guarantor (“Off Lease Parent”, and

    together with Off Lease LLC, the “Debtors”) hereby submit this preliminary objection (the

    “Objection”) to the Debtors’ cash collateral motion (the “Motion”)2 [Docket No. 7] and

    reservation of rights to the other relief requested in the Debtors’ other “first day” motions

    [Docket Nos. 5, 6, 8, 9, 11, 14, 15, 16]. In support thereof, the Ally Parties respectfully state

    as follows:




1
 The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
number (if applicable) are: Off Lease Only LLC (7345), Off Lease Only Parent LLC (2753), and Colo Real Estate
Holdings LLC (7453). The location of the Debtors’ service address in these chapter 11 cases is 1200 S. Congress
Ave., Palm Springs, FL 33406.
2
    Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the Motion.


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                                     I.   Preliminary Statement

        1.     On Tuesday, September 5, 2023, the Debtors defaulted on, among other things,

their payment obligations under their secured line of credit with the Ally Parties, which was

established for wholesale floorplan automobile purchases, as well as all of the related cross-

collateralized debt and guaranty obligations. The next day, on Wednesday, September 6, 2023,

just one day prior to the Petition Date, the Debtors notified the Ally Parties that they had ceased

operations, intended to commence these bankruptcy proceedings no later than the following day,

and requested authority to use the Ally Parties’ secured cash collateral to fund the Debtors’ chapter

11 cases. The Ally Parties respectfully declined and the Debtors proceeded to commenced these

proceedings on Thursday, September 7, 2023.

        2.     The Ally Parties did not ask for the Debtors to file chapter 11 petitions, and the

Debtors did not provide the Ally Parties with a meaningful opportunity to engage in any

negotiations or discussions as to whether alternatives to the chapter 11 process would facilitate the

transfer of the Ally Parties’ secured collateral to the Ally Parties for liquidation in a more efficient

and economical manner.

        3.     While the Debtors suggest that the chapter 11 cases were filed for the “benefit” of

the Ally Parties, the Ally Parties fundamentally disagree. The Ally Parties are merely floorplan

inventory lenders—they loaned money to the Debtors to allow the Debtors exclusively to purchase

specific motor vehicles at wholesale auctions and directly from customers as trade-ins or individual

purchases. There is no “benefit” to the Ally Parties from the Debtors’ bankruptcy. The Ally

Parties are not going-concern lenders or lenders providing loans for general corporate use by the

Debtors. They are also not lenders who are dependent upon a debtor-driven sale to maximize the

value of their secured collateral.




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        4.     Failing to recognize this important distinction, the Debtors have proposed an

entirely unnecessary, elongated and expensive process that seeks to shift the full cost of their

bankruptcy proceedings on the Ally Parties without adequate protections for the Ally Parties as

secured lenders. Their proposed cash collateral budget needlessly forecasts expenses for additional

rent, independent contractors and professional fees that largely can be avoided if the vehicles and

titles held by the Debtors that are the Ally Parties’ secured collateral are immediately transferred

to the Ally Parties, as the relevant financial agreements mandate should have happened in the

ordinary course.

        5.     Under Section § 363(e) of the Bankruptcy Code, the Court can only authorize the

Debtors’ use of the cash collateral if the Debtors can establish that they can provide the Ally Parties

with adequate protection. Here, the Debtors miserably failed to meet the burden they have to prove

that the Ally Parties are adequately protected to permit the use of the Ally Parties’ cash collateral

without their consent as they must under Section 363 of the Bankruptcy Code. On the contrary,

the Debtors’ proposed plan to use cash collateral will cause undue delay in the required transfer of

floorplan vehicles to the Ally Parties, resulting in further diminution in value of the vehicles which,

together with the Debtors’ remaining cash, serve as collateral for satisfaction of the secured debt

owed to the Ally Parties under the floorplan financing agreements.

        6.     These chapter 11 cases have been thrust upon the Ally Parties over their objection.

Despite the not so veiled narrative in the Declaration of Leland Wilson in Support of Chapter 11

Petitions and First Day Pleadings [Docket No. 4] (the “Wilson Declaration”) and other First Day

Papers, the Ally Parties have at all times acted in accordance with the rights afforded to them in

the underlying floorplan financing documents. These chapter 11 cases are entirely the result of




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the Debtors’ actions as well as macroeconomic forces negatively affecting the used car market,

and now the Ally Parties are left to deal with the consequences.

        7.     While the Ally Parties acknowledge that the Debtors’ estates must pay certain costs

to keep the vehicle collateral secure and to facilitate an orderly and expeditious transfer of

possession of the vehicles and titles to the Ally Parties, they are unwilling to consent to a needlessly

extended process that uses their cash collateral without their consent or any meaningful substitute

collateral. Instead, the Ally Parties are willing to consent to the limited use of a limited amount of

their cash collateral as set forth in the short-term cash collateral budget (“Proposed Budget”)

attached hereto as Exhibit 1 in order to fund the Debtors’ estates for a three-week period, during

which the vehicle collateral and titles can be transferred to the Ally Parties. However, the Ally

Parties do not consent to the wasteful budget proposed by the Debtors (the “Debtors’ Budget”),

that seeks to use over $12.1 million of the cash collateral in a span of eight weeks (with huge fees

to their professionals) to conclude the winding down of their business. This is an enormous sum

by any measure, particularly where the only stated goal of the chapter 11 cases is to transition the

motor vehicles to the Ally Parties for sale as soon as possible.

        8.     Critically for purposes of their Motion, the Debtors have failed to establish (and do

not seriously attempt to establish) that the Ally Parties are adequately protected. The Bankruptcy

Code simply does not permit a debtor to use a secured lender’s collateral without such lender’s

consent unless the debtor establishes that the lender is adequately protected. The Debtors have

offered no testimony or evidence that the value of the Ally Parties’ collateral exceeds the Ally

Parties’ secured claims, and therefore they fail to establish that the replacement liens to be granted

on the vehicle collateral would provide any protection against its declining value.




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        9.     Moreover, Debtors’ own conduct is the reason that there is insufficient cash

collateral available to provide the Ally Parties with adequate protection. In fact, in the days leading

up to the Petition Date, the Debtors used more than $8 million of the cash collateral to pay certain

wind-down expenses in advance of the bankruptcy proceeding, all contrary to the terms of the

underlying floorplan financing documents with the Ally Parties. Notwithstanding these actions

and their request to usurp the remainder of the cash collateral, the Debtors have offered no evidence

that the value of the vehicle collateral alone with be sufficient to pay the Ally Parties’ claims in

full. The Debtors have also failed to identify any other unencumbered assets not covered by the

Ally Parties’ existing security interest that could be used to provide the Ally Parties with adequate

protections against the continuing use of its cash collateral. Accordingly, the Debtors cannot use

the cash collateral under Section 363(c) of the Bankruptcy Code without the Ally Parties’ consent,

and the Motion must be denied.

        10.    Finally, as set forth in the accompanying Declaration of Michael Keeler (the

“Keeler Decl.”), Executive Director of the Ally Parties’ Commercial Workout Team, who has

more than 30 years’ experience in floorplan lending and liquidation of motor vehicle inventories

from distressed dealers, the Ally Parties anticipate that they can receive the transfer of the vehicle

collateral to prepare to be sold within the next three weeks, which will likely obviate the need for

the lion’s share of the Debtors’ proposed use of the cash collateral because the vast majority of the

costs identified in the Debtors’ Budget will be substantially reduced and potentially obviated if the

vehicles are transferred to the Ally Parties now. Indeed, Debtors concede that “allowing Ally—

which has a senior lien on the Debtors’ vehicles—to recover its collateral will maximize the value

of the Debtors’ estates by minimizing the cost to the Debtors of liquidating their assets[.]” Wilson

Decl. ¶ 35. Therefore, what should happen here—and what should have happened before Debtors




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filed for bankruptcy—is that there should be a consensus for the reasonable use of the Ally Parties’

cash collateral for a three-week period, conditioned on the immediate transfer of the vehicles and

title on which the Ally Parties have senior liens, and the Ally Parties should be allowed to sell

those vehicles at the highest price and in the most efficient and timely manner possible. 3 The

transfer of the vehicle collateral to the Ally Parties should be able to be completed within a three-

week period, making approval of the Debtors’ Budget beyond three weeks simply unnecessary to

resolve at this juncture.

        11.      Accordingly, the Ally Parties respectfully request that the Court deny the Motion

and limit any interim order authorizing the use of cash collateral to a period of not more than three

weeks and for not more than the amounts set forth in the Proposed Budget attached hereto as

Exhibit 1, with an order requiring the Debtors to transfer all vehicle collateral and corresponding

vehicle titles to the Ally Parties within the next three weeks or as soon thereafter as is reasonably

possible.

                                        II.      Factual Background

        A.       The Ally Parties’ Wholesale Floorplan Lending and Security Interest

        12.      On January 7, 2008, Off Lease Only Inc. (n/k/a Off Lease Only LLC) entered into

a Wholesale Security Agreement (as amended from time to time, the “Wholesale Security

Agreement”) with GMAC (n/k/a Ally Financial Inc.) to provide a line of credit to finance Off

Lease’s acquisition of motor vehicles for retail sale. Keeler Decl. ¶ 10. The Wholesale Security

Agreement provides that Off Lease is indebted to Ally Financial in the amount of the total

aggregate advances and the monthly interest due thereon. See Keeler Decl. Ex. A ¶ 2. At the time



3
 To the extent a formal motion for relief from the automatic stay is required pursuant to 11 U.S.C. § 362(d)(2), the
Ally Parties request that the Court set an expedited briefing schedule and hearing for such motion to preserve and
maximize the value of the vehicle collateral to the greatest extent possible.


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that Off Lease sells or otherwise disposes of vehicles, Off Lease is required to “immediately” pay

Ally Financial the amount advanced with respect to such vehicle with any unpaid interest thereon.

Id. ¶ 4. Off Lease also granted Ally Financial “a security interest in all motor vehicle inventory,

and the proceeds thereof . . . which shall include all new and used vehicles held for sale or lease,

now owned or hereafter acquired, and all additions and accessions thereto and all proceeds of such

vehicles, including insurance proceeds.” Id. ¶ 5. The predecessors to the Ally Parties under the

Wholesale Financing Documents filed required UCC statements to perfect a first priority security

interest in all of the Debtors’ vehicles and proceeds in May 2008. Keeler Decl. ¶ 20.

        13.    In the event of default or the Ally Parties’ determination that the collateral is in

danger of misuse, loss, seizure or confiscation, the Ally Parties are authorized to take immediate

possession of their collateral without demand, further notice, or legal process. Keeler Decl. Ex. A

¶ 7. The Wholesale Security Agreement further provides that any and all cash proceeds of the sale

of the vehicles must be fully accounted for and promptly paid. Id. ¶ 9. The terms of the Wholesale

Security Agreement permit Ally Financial to cancel the line of credit at any time without notice or

demand. Id. ¶¶ 9, 11.

        14.    On October 11, 2010, Off Lease entered into the GMAC Bank Master Wholesale

Agreement with GMAC Bank (n/k/a Ally Bank), which provided that GMAC Bank would provide

financial accommodations to Off Lease on the same terms and conditions of the Wholesale

Security Agreement and related security documents. See Keeler Decl. Ex. B. The Wholesale

Security Agreement and the GMAC Bank Master Agreement, together with all other agreements

and security documents related thereto, are collectively referred to as the “Wholesale Financing

Documents.”




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        15.    On November 15, 2019, the Debtors and the Ally Parties entered into the General

Security Agreement, which grants to each of the Ally Parties “a security interest in, and a collateral

assignment of, any and all of the following described property in which [Off Lease] now or

hereafter acquires an interest, wherever located, in whatever form, and in any and all proceeds

thereof, including insurance proceedings: all vehicles, including but not limited to those vehicles

for which either of the Ally Parties provides financing, and regardless of whether such vehicles

are considered inventory or equipment, and all funds provided to or held by either of the Ally

Parties, regardless of whether such funds are considered accounts, general intangibles, or

otherwise.” Keeler Decl. ¶ 14, Ex. C. The Debtors and the Ally Parties further entered into a

Cross Collateral, Cross Default and Guaranty Agreement on August 13, 2020. Id. ¶ 15, Ex. D. On

September 6, 2022, Off Lease Parent executed the Guaranty in favor of the Ally Parties. Pursuant

to the Guaranty, Off Lease Parent unconditionally guaranteed the payment of all current and future

obligations the Off Lease may owe to the Ally Parties. Id. ¶ 16, Ex. E.

        16.    On February 13, 2023, based on the Ally Parties’ concerns regarding Off Lease’s

performance and financial condition, and in consideration of the Ally Parties’ agreement to

continue to provide the lines of credit to Off Lease, the Ally Parties and Off Lease entered into a

Credit Balance Agreement. Id. ¶ 18, Ex. F. The Credit Balance Agreement provided that Off

Lease would be required to deliver to Ally Bank a credit balance of at least $10 million (based on

the outstanding amounts owed by Off Lease under the Wholesale Financing Documents). Keeler

Decl. Ex. F. ¶ 2. Upon a default by Off Lease, the Credit Balance Agreement provided that Ally

Bank had the right to “immediately apply all principal payments pursuant to the [Credit Balance

Agreement] to such principal advances made pursuant to the [Wholesale Financing Documents]

as [Ally Bank] may determine it its sole discretion” without any notice or demand of any kind. Id.




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¶ 7. The Credit Balance Agreement did not, however, alter any obligation of Off Lease to pay

proceeds of vehicle sales to the Ally Parties under the terms of the Wholesale Financing

Documents. Id. ¶ 9.

        B.     The Debtors’ Default under the Wholesale Financing Documents

        17.    During the week prior to the commencement of these bankruptcy cases, the Debtors

failed to remit proceeds from its vehicle sales to the Ally Parties as required under the Wholesale

Financing Documents. Keeler Decl. ¶ 29. As a result, the Debtors were in default, and the Ally

Parties were entitled to apply the $10 million held by Ally Bank pursuant to the Credit Balance

Agreement to the outstanding obligations. The Ally Parties applied the $10 million credit balance

on September 5 and 6, 2023. Id. ¶ 30.

        18.    As of the Petition Date, the Debtors owed the Ally Parties no less than

$57,691,584.50 under the Wholesale Financing Documents, which does not include accrued

insurance, interest, fees and enforcement costs. Id. ¶ 33.

        C.     The Current Value of Verified Vehicle Collateral

        19.    In the lead up to the Petition Date, the Ally Parties attempted to verify the floorplan

vehicle collateral, but were only able to verify a total of 2,057 vehicles. Id. ¶ 37. The Ally Parties

were unable to verify the location of 212 vehicles. Id. Unless these vehicles and their titles can

be located and verified, they represent a total loss with no realizable value. Id. The Ally Parties

also cannot verify the location of the non-floorplan vehicles.

        20.    The current value of the 2,057 verified vehicles, if immediately transferred by the

Debtors to the Ally Parties, is estimated to be $49,603,803.30. Id. ¶ 42. This valuation is an

estimate made by Mr. Keeler and his team. Mr. Keeler has decades of experience in the auto

floorplan financing industry and extensive experience in auto floorplan financing workouts in

distressed debt situations in particular. Id. ¶ 4. Mr. Keeler estimates that the realizable value of


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the verified inventory will average no more than 90% of the clean Black Book value for the

vehicles, an amount consistent with the Ally Parties’ substantial experience in liquidating vehicle

inventories from distressed or defaulting dealerships. Id. ¶ 38. The vehicles are unlikely to be

worth a greater value because their value will likely depreciate in the several weeks (at the soonest)

between now and the completion of the sale process. Id. ¶ 40. Moreover, the vehicles may have

mechanical problems, interior or exterior wear, and/or other issues disclosed in the CARFAX

reports. Id. In addition, there are costs associated with the sale process, including fees from the

auction house, costs to transfer the title and cars from the Debtors’ possession to the Ally Parties,

and storage and insurance costs – all of which are estimated to cost $500 per vehicle. Id. ¶¶ 40-

41.

        D.     The Ally Parties’ Security Interest in Cash Collateral

        21.    At the current estimated value of the verified vehicle collateral, even if transferred

to the Ally Parties and sold, the Ally Parties would still have a secured claim for the remaining

shortfall amount estimated to be $7,203,863.48, and a corresponding secured interest in cash

collateral now held by the Debtors from proceeds from sales of vehicles, plus an additional amount

of $883,917.74 in interest charges and insurance costs, as well as a total of $1,028,500.00 (for

estimated costs of $500 per verified vehicle for transport, titling, etc.), and an unknown amount of

fees and enforcement costs. Keeler Decl. ¶ 43.

        E.     The Ally Parties Are Best-Positioned to Sell the Vehicle Collateral

        22.    The Ally Parties are industry leaders in floorplan financing and well-experienced

in liquidating inventories for distressed or defaulting dealerships. Id. ¶ 46. They have well-

established relationships with auction companies, transportation and other necessary vendors, as

well as a proven track record of efficient sales of liquidating vehicle inventories to maximize sale

prices under these circumstances. Id.


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        23.    With respect to the vehicle collateral, the Ally Parties are best positioned to

maximize the value of from sales of the vehicle collateral because they can market and sell the

vehicles directly on the Ally Parties’ online auction platform and through third-party auction

houses. Id. ¶ 44. The Debtors agree that “allowing Ally to recover its collateral will maximize

the value of the Debtors’ estates by minimizing the cost to the Debtors of liquidating their assets”

and Debtors state that they want to “transfer[] vehicles to Ally as quickly as possible.” Wilson

Decl. ¶ 35.

        24.    On September 7, 2023, the Debtors filed the Motion requesting authority to use the

cash collateral to fund the wind-down of their business. In the Motion, the Debtors proposed to

use over $12.1 million over eight weeks to wind-down their business. This amount includes

payments for Debtors’ legal and professional fees in connection with this bankruptcy, rent, and

salaries for staff during the wind-down. See Debtors’ Budget [Dkt. 7-1].

        25.    Debtors admit that they “expect to collect very few, if any, deposits into their Cash

Management System postpetition,” Wilson Decl. ¶ 104, meaning that the diminution of the cash

collateral will not be replaced by future cash flows. Debtors did not offer additional or new assets

to cover the diminution of the cash collateral. Instead, Debtors proposed to provide the Ally Parties

with “the Adequate Protection Liens consisting of continuing, valid, binding, enforceable, and

perfected liens” for unspecified assets. Motion ¶ 24. These Adequate Protection Liens would be

“senior in priority to the Prepetition Lien held by the applicable Prepetition Secured Party” and

“senior to all other security interests in, liens on, or claims against any of the Debtors’ assets that

constitute Prepetition Collateral” but junior to the Carve Out and Permitted Prior Liens. Id.

Debtors further propose to provide the “Adequate Protection Superpriority Claims, consisting of

allowed superpriority administrative expense claims in each of the Chapter 11 Cases and any




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Successor Cases.” Id. But as explained below, these new proposed claims are nothing more than

proposed new liens over which the Ally Parties already have senior secured liens.

        26.    The Ally Parties attempted to reach a deal for a consensual use of cash collateral

which would have allowed the Debtors to implement the stated goal of their chapter 11 filing—to

effectuate the transfers of the motor vehicles to the Ally Parties for sale. However, the Debtors

have refused to agree, instead taking the position that the Ally Parties must fund the entirety of the

Debtors’ chapter 11 process, which serves no reorganization purpose or benefit to the Ally Parties

in any way aside from allowing the Ally Parties to obtain the motor vehicles which the Debtors

are essentially holding hostage. Despite this lack of agreement from the Debtors, the Ally Parties

are willing to consent to the use of the limited amount of cash collateral necessary to complete the

transfer to them of the vehicle collateral over the next three weeks as provided for in the Proposed

Budget attached hereto as Exhibit 1.

                                  III.    Preliminary Objection

        27.    The Ally Parties present this preliminary objection to the Debtors’ request for the

Court to authorize the use of the cash collateral on the terms provided for in the Motion. The Court

should deny the Motion for several reasons. First, the Debtors’ have failed to meet their burden to

prove that the Ally Parties are adequately protected. Second, the Ally Parties are not adequately

protected and have not consented to the Debtors’ proposed use of cash collateral. Third, even if

not adequately protected, the Ally Parties are willing to consent to the limited use of cash collateral

by the Debtors over a three-week period to administer the Debtors’ estates for a sufficient period

of time to transfer the vehicle collateral to the Ally Parties in order to maximize the value of the

vehicle collateral. Fourth, the Debtors’ proposed Carve Out to subordinate the Ally Parties’

secured prior claims to more than $4 million in estimated fees for the Debtors’ professionals in

these Proceedings is unwarranted. Finally, there will be no immediate or irreparable harm to the


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Debtors if the Court, in the first instance, issues an order limiting the use of cash collateral by the

Debtors to a three-week period as set forth in the Ally Parties’ Proposed Budget.

         A.       The Debtors Have Not Met their Burden to Show that the Ally Parties Are
                  Adequately Protected

         28.      The Debtors seek an order authorizing the use of more than $12.1 million of the

Ally Parties’ secured cash collateral over the course of the next eight weeks in this liquidating

chapter 11 proceeding based on an illusory argument that the Ally Parties are adequately protected.

The Debtors’ argument lack merit because the Debtors fail to establish, as they must, that the Ally

Parties are adequately protected.4

         29.      Under Section 363 of the Bankruptcy Code, in the absence of creditor consent,5 a

debtor may not use, sell, or lease a secured creditor’s cash collateral unless “the court, after notice

and a hearing, authorizes such use, sale, or lease in accordance with the provisions of this section.”

11 U.S.C. § 363(c)(2). Section 363(e) goes further to provide that “on request of an entity that has

an interest in property used, sold, or leased, or proposed to be used, sold, or leased, by the trustee,

the court, with or without hearing, shall prohibit or condition such use, sale, or lease as is necessary

to provide adequate protection of such interest.” 11 U.S.C. § 363(e). Section 362(d)(1) of the

Bankruptcy Code further provides for adequate protection of interests in property due to the

imposition of the automatic stay. See In re Cont’l Airlines, 91 F.3d 553, 556–57 (3d Cir. 1996)

(en banc).




4
  Section 363(p) of the Bankruptcy Code provides that the debtor has the burden of proof on the issue of adequate
protection. 11 U.S.C. § 363(p); see also Save Power Ltd. v. Pursuit Athletic Footwear (In re Pursuit Athletic
Footwear), 193 B.R. 713, 716 (Bankr. D. Del. 1996); In re LTAP US, LLLP, 2011 WL 671761, at *2 (Bankr. D.
Del. Feb. 18, 2011); In re Diaconx Corp., 69 B.R. 333, 338 (Bankr. E.D. Pa. 1987) (“The burden of proof on the
issue of adequate protection falls upon [the debtor].”); First Bank of Miller v. Wieseler, 45 B.R. 871, 876 (D.S.D.
1985) (finding the burden is heightened when cash collateral is at issue).
5
  The Ally Parties do not consent to the Motion or the Debtors’ proposed use of cash collateral on the terms set forth
in the Motion.


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        30.     A secured creditor is entitled to adequate protection as a matter of right, which

means it is entitled to have the value of its collateral maintained at all times. Price v. Del. State

Police Fed. Credit Union (In re Price), 370 F.3d 362, 373 (3d Cir. 2004). Adequate protection is

provided both as a matter of policy and as a matter of constitutional law. See In re Townley, 256

B.R. 697, 700 (Bankr. D.N.J. 2000) (“The right of a secured creditor to the value of its collateral

is a property right protected by the Fifth Amendment.”) (citing In re Johnson, 63 B.R. 550, 551

(Bankr. D. Colo. 1986); Sumitomo Trust & Banking Co., Ltd. v. Holly’s, Inc. (In re Holly’s, Inc.),

140 B.R. 643, 686 (Bankr. W.D. Mich. 1992) (section 362(d)(1) serves to protect a secured

creditor’s Fifth Amendment rights) (citing Wright v. Union Central Life Ins. Co., 311 U.S. 273

(1940); Louisville Joint Stock Land Bank v. Radford, 295 U.S. 555 (1935)).

        31.     “[A] determination of whether there is adequate protection is made on a case by

case basis.” Resolution Trust Corp. v. Swedeland Dev. Group (In re Swedeland Dev. Group), 16

F.3d 552, 564 (3d Cir. 1994). While adequate protection may take the form of cash payments,

replacement liens, or other relief “as will result in the realization . . . of the indubitable equivalent

of such entity’s interest in” the cash collateral, 11 U.S.C. § 361, such replacement liens or other

relief cannot diminish such entity’s interest in the cash collateral. See id. (“[t]he whole purpose of

adequate protection for a creditor is to insure that the creditor receives the value for which he

bargained prebankruptcy…. In other words, the proposal should provide the pre-petition secured

creditor with the same level of protection” as its post-petition position) (quoting In re O’Connor,

808 F.2d 1393, 1396 (10th Cir. 1987)); In re Stoney Creek Techs., LLC, 364 B.R. 882, 892 (Bankr.

E.D. Pa. 2007) (creditor was not adequately protected where it would be impaired from realizing

the value of its collateral if its first lien position was subordinated to a post-petition priming lien).




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        32.      Here, rather than establishing that the Ally Parties are adequately protected as

secured creditors, the Debtors’ Motion demonstrates that the Ally Parties are not adequately

protected because the Motion seeks to subordinate the Ally Parties’ secured interest in the cash

collateral and seeks to use significantly more cash collateral than are required to preserve and

protect the vehicle collateral for transfer to the Ally Parties.

        33.      First, the Wilson Declaration concedes that “Ally has a security interest in all of the

Debtors’ vehicles—regardless of whether such vehicles are on the Floorplan—as well as the

proceeds of such vehicles.” Wilson Decl. ¶ 33. However, in derogation of this very security

interest, the Debtors seek to use the Motion to subordinate the Ally Parties’ secured interest in the

cash collateral (proceeds of vehicles sales) to more than $4 million in budgeted professional fees

for the Debtors. Indeed, the Debtors seek authorization to use $12.1 million of the cash collateral

to fund the expenses outlined in the Cash Collateral Budget (Mot., Ex. 1) in exchange only for

providing so-called “Adequate Protection Liens, consisting of continuing, valid, binding,

enforceable, and perfected liens, which shall be senior in priority to the Prepetition Lien held by

the applicable Prepetition Secured Party, upon such Prepetition Secured Party’s Prepetition

Collateral. Mot. ¶ 24.

        34.      However, the Debtors seek to make the Adequate Protection Liens subject in all

respects to the Carve Out,” id., which includes the Debtors’ professional fees. Therefore, in

addition to seeking to spend more than $12 million of the cash collateral, the Debtors also seek to

subordinate the Ally Parties’ secured interest in the cash collateral to more than $4 million in

budgeted fees for the Debtors’ professionals.6 Mot. at 8. As such, the Debtors’ Motion itself



6
  Further, the Carve Out as currently proposed (Proposed Order, ¶ 11(a)) does not cap the payment of professional
fees for the professionals retained by the Debtors at the amounts set forth in the Debtors’ proposed budget, which
puts the Ally Parties’ interests in the cash collateral at greater risk.


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establishes that their request for authorization to use the cash collateral in exchange for

subordinated Adequate Protection Liens does not provide the Ally Parties with adequate protection

in the cash collateral.

         35.    The Debtors next argue that approval of the Motion to spend more than $12 million

of cash collateral is necessary to protect the Ally Parties against “diminution in the value of” the

vehicle collateral, Mot. ¶ 26, but that argument fails as well. As factual matter, Debtors concede

that they estimate it will only “take two to four weeks to complete” the transfer of vehicle inventory

to the Ally Parties. Wilson Decl. ¶ 36. Thus, the Debtors have failed to meet their burden to show

that their request to use $12 million in cash collateral over an 8-week period is necessary to

preserve the value of vehicle collateral that can be turned over to the Ally Parties in two to four

weeks.

         36.    The Debtors’ proposal in its Motion is similar the proposal that was rejected in

Roach Auto., L.P. v. Daimler Chrysler Fin. Servs. Americas, LLC (In re Roach Automotive, L.P.),

540 B.R. 146, 152 (Bankr. W.D. Pa. 2007). There, the debtor offered to make monthly payments

of $17,000 from the sales proceeds of vehicles which the creditor already had a secured interest

in, while using over $100,000 of the cash collateral on a monthly basis. Id. at 152. The Court

rejected that proposal because it did not provide adequate protection to the creditor. Notably, the

Court found that the debtor “has no additional assets to pledge to [the creditor]” and the proposed

monthly payments were proceeds that were already part of the creditor’s collateral. Id. at 152–53.

Further, the debtor proposed to use the cash collateral to pay expenses, “some of which may benefit

[the creditor] and some may not.” Id. at 153. The same is true here, where Debtors’ Motion seeks

approval to spend more than $5 million in cash collateral during the month after the time required




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to transfer the vehicle collateral to the Ally Parties has passed, which will have no benefit to the

Ally Parties.

         37.      Accordingly, the Court should deny the Motion because the Debtors have failed to

satisfy their burden under Section 363 to establish that the Ally Parties’ secured interests in the

cash collateral are adequately protected if the Debtors’ Motion is granted.

         B.       The Ally Parties Are Not Adequately Protected by the Value of their Vehicle
                  Collateral

         38.      Even if the vehicle collateral is transferred to the Ally Parties immediately, the Ally

Parties are still not adequately protected from the diminution of value of their collateral because

the value of the vehicle collateral (i.e., Debtors’ inventory) is below the total amount of the Ally

Parties’ secured claim and the Debtors have no other assets or future cash flows that can adequately

replace the Debtors’ proposed $12.1 million diminution of the cash collateral.7

         39.      Valuation for purposes of adequate protection necessarily relies on Section 506(a)

of the Bankruptcy Code “for a determination of the amount of a secured claim.” Winthrop Old

Farm Nurseries v. New Bedford Inst. for Sav. (In re Winthrop Old Farm Nurseries), 50 F.3d 72,

74 (1st Cir. 1995) (citing United Sav. Ass’n of Tex. v. Timbers of Inwood Forest Assoc., 484 U.S.

365, 371–72 (1988) (stating that statutory construction is a “holistic endeavor” and defining value

of “entity’s interest in property” entitled to adequate protection under §§ 361 and 362 in light of

meaning of value of “creditor’s interest” in property under § 506(a))). Section 506(a) of the

Bankruptcy Code directs the Court to determine value of collateral “in light of the purpose of the

valuation and of the proposed disposition or use of such property, and in conjunction with any


7
  In the context of cash collateral and the provision of non-cash replacement collateral, “‘indubitable equivalence’
analysis imports a necessary comparison of the relative risks of loss to the secured creditor if it has recourse on the
replacement collateral instead of the cash collateral.” 4 Collier on Bankr. P 506.03[7][a][iii] (citing In re Krumm, 87
B.R. 76, 77 (Bankr. D. Neb. 1988) (finding it was impermissible to replace cash collateral with a lien on future crops
due to the inherent risk accompanying the latter); Metropolitan Life Ins. Co. v. Murel Holding Corp. (In re Murel
Holding Corp.), 75 F.2d 941, 942 (2d Cir. 1935); In re Walat Farms, Inc., 70 B.R. 330, 336 (E.D. Mich. 1987)).


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hearing on such disposition or use or on a plan affecting such creditor’s interest.” 11 U.S.C. §

506(a).

          40.    Here, the transfer of the vehicle collateral alone to the Ally Parties does not provide

adequate protections in the cash collateral to the Ally Parties. First, the Debtors admit that the

used vehicle market has softened and that the Debtors’ inventory is aging relative to when it was

purchased. See Wilson Decl. ¶¶ 30–31; see also VW Credit, Inc. v. CTE2, LLC, 2019 WL 6649381,

at *2 (D.N.J. Dec. 6, 2019) (vehicles that “are continuing to sit without maintenance and

unattended… are depreciating in value by the day”); In re Roach Automotive 540 B.R. at 152

(vehicle “inventory is depreciating in value every day”). Second, the Debtors have not yet

transferred the vehicle collateral to the Ally Parties and have failed to remit sale proceeds, id.

¶¶ 12, 23–24, causing the Ally Parties to have neither the vehicles themselves nor the proceeds

thereof. Third, the softening of the used car market and the aging inventory of the vehicles means

that the returns on these vehicles will be lower. See Wilson Decl. ¶¶ 30–31. Finally, the Debtors

owe additional amounts secured by the vehicle and cash collateral, including those for interest,

insurance, and enforcement costs. See Keeler Decl. ¶ 43.

          41.    In addition to the admissions by the Debtors, Mr. Keeler makes clear in his

declaration that the current value of the verified vehicle collateral, even if transferred to the Ally

Parties immediately, is estimated to be more than $8 million lower than the Ally Parties’ secured

debt – before actual inspection of the vehicles, their titles, and other contingencies that could affect

the value of the vehicles. Id. ¶¶ 37-39. Moreover, the total value of the verified vehicle collateral

is also likely to depreciate in the several weeks between now and the completion of the sale

process, id. ¶¶ 40-41, further reducing the Ally Parties’ recovery on the sale of vehicle collateral




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and increasing the amount of its secured shortfall claim to the cash collateral, which is estimated

to exceed $8 million, id. ¶ 43.

        42.    Notwithstanding these facts, the Debtors have not offered a replacement lien over

new assets that could adequately protect the Ally Parties’ interests nor any alternative assets or

future cash flows that can cover for the depletion of the cash collateral. The Debtors’ proposal to

wind-down the business using the cash collateral similarly does not generate any future cash flows

that the Ally Parties do not already have a secured interest in.

        43.    Therefore, the Court should deny the Motion because the Ally Parties are already

undersecured and the Debtors should not be permitted to further erode the cash collateral. See,

e.g., In re LTAP US, LLLP, 2011 WL 671761, at *2 (Bankr. D. Del. Feb. 18, 2011) (denying the

use of cash collateral where “the value of Debtor's assets do not provide [the creditor bank] with

the required protection against the use of its cash collateral); In re LightStyles, Ltd., 2012 WL

3115902 (Bankr. M.D. Pa. July 27, 2012) (denying use of cash collateral because “the Bank’s

interest in Debtor’s collateral is undersecured and any diminution in the value of the collateral will

result in a loss to the Bank”); In re Roach Automotive, 540 B.R. at 151 n.7 (an “equity cushion

which is eroding rapidly may not constitute adequate protection”) (citing In re Liona Corporation,

68 B.R. 761, 768 (Bankr. E.D. Pa. 1987)).

        C.     The Ally Parties Are Willing to Consent to Limited Use of the Cash Collateral
               in a Manner Consistent with the Proposed Budget to Facilitate the Transfer of
               the Vehicle Collateral and Titles to the Ally Parties

        44.    Although the Debtors have failed to meet their burden to establish that the relief

requested in the Motion provides adequate protections for the proposed use of the cash collateral

in the Debtor’s Budget, subject to certain conditions, the Ally Parties are willing to consent to the

use of approximately $5.5 million of cash collateral over the next 3 weeks, as set forth in the

attached Proposed Budget (Ex. 1), in order to provide an orderly and expeditious transfer of the


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vehicle collateral and titles to the Ally Parties. The Ally Parties are not willing to consent to the

interim order proposed by the Debtors permitting the use of more than $12 million in cash

collateral over the course of the next 8 weeks.

        45.     The Ally Parties understand that because the Debtors refused to permit the Ally

Parties to repossess the vehicle collateral and corresponding titles, certain limited costs must be

paid to facilitate the Debtors’ transfer of the vehicles to the Ally Parties for a liquidation process.

However, contrary to the Debtors’ assertion that “[a]bsent the use of Cash Collateral . . . the value

of Ally’s security interest in their vehicles would deteriorate rapidly, with the risk of permanent

loss and the necessity for Ally to retrieve such vehicles immediately, a virtual impossibility,” Mot.

¶ 26, if permitted by the Court, the Ally Parties are willing to immediately begin the process of

taking possession of the titles and keys to the vehicle collateral, as well as place security to protect

the vehicle collateral within 24 hours with an orderly and prompt removal of the vehicle collateral

thereafter from their current locations.

        46.     For these reasons, while not necessary to protect against the diminution in the value

of vehicle collateral (as the Debtors’ contend), Mot. ¶ 26, under certain conditions, the Ally Parties

are willing to consent to limited use of cash collateral for a three-week period in accordance with

their Proposed Budget to expedite the transfer of vehicle collateral to the Ally Parties as quickly

as possible. The Ally Parties have clearly communicated this to the Debtors, along with their

willingness to work cooperatively to facilitate an expedient transfer of the vehicle collateral in

order to minimize transfer costs and maximize sale proceeds. However, in response, the Debtors

have conditioned consent to any such transfer on unilateral releases, unacceptable waivers of all

shortfall claims and rights to any cash collateral, and conditions that are not related to the transfer

of the vehicles to the Ally Parties. The Ally Parties respectfully submit that an interim cash




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collateral order should be entered authorizing the use of cash collateral only as set forth in the Ally

Parties’ Proposed Budget and allowing the Ally Parties to obtain the vehicles and titles as soon as

possible, since even the Debtors concede that “allowing Ally . . . to recover its collateral will

maximize the value of the Debtors’ estate by minimizing the cost to the Debtors of liquidating

their assets.” Wilson Decl. ¶ 35 (emphasis added).

        D.     The Debtors Will Not Suffer Immediate and Irreparable Harm if the Debtors’
               Motion Is Denied

        47.    The Debtors argue that the “relief requested in this Motion is necessary to avoid

immediate and irreparable harm to the Debtors[.]” Mot. ¶ 29. The Debtors are wrong.

        48.    There is no need for the Court to issue an interim cash management order permitting

the Debtors to use more than $12 million in cash collateral over an 8-week period to avoid

immediate and irreparable harm to the Debtors’ estates. As the Debtors admit, “[s]ubstantially all

of the Debtors’ available cash constitutes the Cash Collateral of secured lenders.” Mot. ¶ 29. It is

for this very reason that the Court should not grant the Debtors’ Motion and permit them to use

nearly all or nearly all of the cash collateral belonging to the Ally Parties as secured lenders for

purposes other than to deliver the physical collateral (in the form of vehicles and titles) to the Ally

Parties, which can be completed in three weeks. The issuance of an interim cash collateral order

that contemplates funding beyond three weeks is unnecessary at this time to prevent immediate

and irreparable harm to the Debtors’ estates. Moreover, the permitted use of cash collateral in any

interim cash collateral order should be limited to activities required for the transfer of vehicle

collateral to the Ally Parties. No immediate or irreparable harm will befall the Debtors if they are

unable to obtain an order during the First Day Hearing that permits them to use essentially all of

the cash collateral belonging to their secured creditors, largely for the payment of their professional

fees (more than $4.3 million) for an unnecessarily elongated period (8 weeks).



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                   IV.     Additional Objections and Reservation of Rights

        49.    The Ally Parties have additional objections to other features of the proposed form

of cash collateral order. The Ally Parties have provided to the Debtors a list of those issues and

remain willing to work through those issues to the extent the use of cash collateral is resolved.

        50.    Additionally, the relief requested in several of the other “first day” motions filed by

the Debtors is premised on the Debtors’ ability to use the cash collateral to make the associated

payments. The Ally Parties object to all requested first day relief to the extent that such relief

requires the use of the cash collateral without the Ally Parties’ consent.

        51.    To the extent the Court permits the use of cash collateral over the objection of the

Ally Parties, at a minimum the orders authorizing such first day relief must provide that the

proposed payments may only be made in accordance with and to the extent set forth in the budget

approved by the Court and on the terms set forth in the cash collateral order.

        52.    The Ally Parties additionally assert a limited objection to the relief requested in the

Motion of the Debtors for Entry of Interim and Final Orders (I) Authorizing the Debtors to

(A) Continue to Operate Their Cash Management Systems and (B) Maintain Existing Business

Forms, and (II) Granting Related Relief [Docket No. 6] (the “Cash Management Motion”). While

the Ally Parties do not generally object to the continued use of the Debtors’ existing bank accounts

and business forms, the Ally Parties request that any post-petition receipts received by the Debtors

be segregated from the Debtors’ existing cash, be maintained in an account separate from the

existing operating accounts, and be maintained for the benefit of the Ally Parties. The Debtors

admit that the only receipts that may be coming into the estate on a post-petition base are proceeds

from vehicle sales, which unequivocally constitute the Ally Parties’ collateral. Wilson Decl. ¶¶

34; 104. The sale proceeds therefore cannot be used by the Debtors absent the Ally Parties’ consent

or upon a demonstration that the Ally Parties’ are adequately protected, and must be preserved.


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Accordingly, the Ally Parties request that any order of the Court with respect to the Cash

Management Motion incorporates the modifications the Ally Parties have requested herein.

        53.    While the Ally Parties are hopeful that they and the Debtors will consensually

resolve this Objection, the Ally Parties reserve their rights to supplement and amend this Objection

based on any new facts that come to light, to seek an adjournment of the hearing on the Motion or

the Cash Management Motion, and to introduce evidence at any hearing relating to this Objection,

without limiting any other rights the Ally Parties may have. The Ally Parties further reserve their

right to raise further objections with respect to the Motion, the Cash Management Motion, the

Debtors’ other “first day” motions and any other pleadings filed by the Debtors on any and all

grounds.

                                        V.     Conclusion

        For the foregoing reasons, the Ally Parties request that the Court deny the Debtors’ Cash

Collateral Motion and Cash Management Motion, and grant such other and further relief as the

Court deems appropriate under the circumstances.



 Dated: September 11, 2023                               Respectfully submitted,
 Wilmington, Delaware

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                                                     —and—

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